                          Case 3:22-cr-00270-WHO Document 40 Filed 07/21/22 Page 1 of 10
AO 257(Rev. 6/78)


       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

BY: □        COMPLAINT        □     INFORMATION            [XJ INDICTMENT                               Name of District Court, and/or Judge/Magistrate Location

                                                           □ SUPERSEDING                                  NORTHERN DISTRICT OF CALIFORNIA
         -OFFENSE CHARGED
                                                                                                                    SAN FRANCISCO DIVISION
 CountOne:18U.S.C.§371                                                I I Petty
 Count Two: 18 U.S.C. § 666(a)(2)
                                                                      I I Minor                 DEFENDANT - U.S

                                                                            Misde
                                                                      □     meanor             1^ JOHN FRANCIS PORTER
                                                                      0 Felony
                                                                                                    DISTRICT COURT NUMBER
PENALTY:       Ct: 1:5 years of imprisonment; $250,000 fine or twice the gross
               gain or ioss; 3 years of supervised release; restitution; forfeiture;
               $100 special assessment; Ct. 2: 10 years of imprisonment; $250,000
               fine or twice the gross gain or loss; 3 years of supervised release;
                                                                                                CR'"22 0270"'^<s
               restitution; forfeiture; $100 special assessment
                                                                                                                              DEFENDANT

                              PROCEEDING                                                              IS AfOriN CUSTODY
                                                                                                        Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                                    1) nH If not detained give date any prior                  ,
                                                                                                        summons was served on above charges ^
                      Federal Bureau of Investigation
       person is awaiting trial in another Federal or State Court,                            2)        Is a Fugitive
  □    give name of court

                                                                                              3)        Is on Bail or Release from (show District)

                                                                                                                      Northern District of California
       this person/proceeding is transferred from another district
  □    per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                      IS IN CUSTODY
                                                                                                                                          FILED
                                                                                              4)        On this charge                           JUL 2 1 2822 4.
       this is a reprosecution of
       charges previously dismissed                                                           5) Q On another conviction                Ci£RK, U.S. DISTRICT COURT
  □    which were dismissed on motion
       of:
                                                                     SHOW
                                                                DOCKET NO.
                                                                                                                                      N0RTjlER|gi3TflieT^FSLIP6(JWlA
                                                                                              6) Q Awaiting trial on other charges
        □ U.S. ATTORNEY             □ DEFENSE
                                                         }                                               If answer to (6) is "Yes", show name of institution

       this prosecution relates to a
                                                                                                                                        If "Yes"
  I I pending case Involving this same                                                              Has detainer CH
       defendant                                                MAGISTRATE
                                                                  CASE NO.
                                                                                                    been filed?
                                                                                                                   □ No           }     give date
                                                                                                                                        filed       _
                                                                                                                               Month/DayA'ear
                                                                                                    DATE OF
                                                                                                                  I
                                                         }
       prior proceedings or appearance(s)
                                                                                                    ARREST
       before U.S. Magistrate regarding this
                                                              21-mj-70609
       defendant were recorded under                                                                Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                                           DATE TRANSFERRED                            Month/Day/Year
Furnishing Information on this form                STEPHANIE M. HINDS                               TO U.S. CUSTODY               I
                                 I U.S. Attorney □ Other U.S. Agency
Name of Assistant U.S.                                                                              I I This report amends AO 257 previously submitted
Attorney (If assigned)                      Alexandra Shepard
                                                         ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:

        □ SUMMONS                   NO PROCESS* □ WARRANT                              Bail Amount:

       If Summons, complete following:
        I I Arraignment             Initial Appearance                              * Where defendant previously apprehended on complaint, no new summons or
                                                                                    warrant needed, since Magistrate has scheduled arraignment
       Defendant Address:

                                                                                       Date/Time:                                 Before Judge:

        Comments:
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       Mniteb States! IBisstrict Court
                                     FOR THE
                NORTHERN DISTRICT OF CALIFORNIA


                    VENUE; SAN FRANCISCO                                filed
                                                                        _JUL212022 ^
                         UNITED STATES OF AMERICA,

                                       V.


                            JOHN FRANCIS PORTER


                                                                                %
                                                           CR 22 0270


                              DEFENDANT(S).


                            INDICTMENT


        18 U.S.C. § 371 - Conspiracy to Commit Bribery of a Local Official
             18 U.S.C. §§ 666(a)(2) and 2- Bribery of a Local Official
     18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)- Forfeiture Allegations




          A true/bill.



                                                         Foreman


          Filed in open court this    21th      day of
           July, 2022




                                             Bail. $ NO PROCESS
                     Donna M. Ryu, U.S. Magistrate Judge
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 1   STEPHANIE M.HINDS(CABN 154284)

 2
     United States Attorney
                                                                             FILED
 3
                                                                              JUL 21 2022 ^
                                                                            CLERK, U.S. DISTRICT COURT
 4                                                                        NORTHERN DISTRICT OF CALIFORNIA
 5

 6

 7

 8                                   UNITED STATES DISTRICT COURT

 9                                 NORTHERN DISTRICT OF CALIFORNIA

10                                                         MON
                                         SAN FRANCISCO DIVISIQ

11   UNITED STATES OF AMERICA,                           CASENO.yR 22 0270
12           Plaintiff,                                  VIOLATIONS:

13      V.                                               18 U.S.C. § 371 - Conspiraey to Commit Bribery of a
                                                         Local Official
14   JOHN FRANCIS PORTER,                                18 U.S.C. §§ 666(a)(2) and 2- Bribery of a Local
                                                         Official
15           Defendant.                                  18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(e)-
                                                         Forfeiture Allegations
16
                                                         SAN FRANCISCO VENUE
17

18

19

20                                            INDICTMENT


21   The Grand Jury charges:

22                                    INTRODUCTORY ALLEGATIONS


23           1.      Recology Inc. is a waste management company responsible for solid waste collection

24   services for the City and County of San Francisco, through the three subsidiary companies comprising

25   its San Francisco Group. The San Francisco Group subsidiary companies are collectively referred to

26   hereafter as "Recology."

27           2.      From in or about January 2018 through in or about January 2021, defendant JOHN

28   FRANCIS PORTER("PORTER") was the Vice President and Group Manager for Recology. Prior to


     INDICTMENT                                      1
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 1   that time,from approximately January 2015 through approximately December 2017,PORTER was

 2   Recology's Controller. From approximately June 2013 to approximately January 2015,PORTER was

 3   Assistant Controller for Recology's corporate parent, Recology Inc. PORTER is a licensed Certified

 4   Professional Accountant.

 5          3.      At all times material to this Indictment, Paul Frederick Giusti ("Giusti") was Group

 6   Government and Community Relations Manager for Recology. In this role, Giusti served as Recology's

 7   liaison to elected officials and departments of the City and County of San Francisco, as well as to

 8   community organizations. Between approximately January 2018 and approximately June 2020,

 9   PORTER directly supervised Giusti.

10          4.      At all times material to this Indictment, Mohammed Nuru ("Nuru") was the Director of

11   San Francisco Public Works, also known as the Department of Public Works("DPW")ofthe City and

12   County of San Francisco (the "City"). As Director of DPW,Nuru was a powerful public official who

13   had great influence over City business, including the City's relationship with Recology. Nuru presided

14   over the process that governed the rates that Recology could charge in San Francisco for its residential

15   solid waste collection services and was responsible for making a recommendation as to whether any rate

16   increase for Recology should be approved. Nuru was also in a position to influence the rates, known as

17   tipping fees, that Recology charged DPW when DPW dumped materials at a Recology facility. Nuru

18   could also approve, deny, or otherwise affect operational changes requested by Recology that would

19   affect Recology's business.

20                                             THE CONSPIRACY

21          5.      Beginning no later than in or about 2014 and continuing until in or about January 2020,

22   Giusti and others entered into a conspiracy to bribe Nuru. PORTER joined this conspiracy no later than

23   in or about May 2015.

24          6.      In his capacity as Group Government and Community Relations Manager, Giusti first

25   reported to Recology Executive 1, the Vice President and General Manager of Recology's San Francisco

26   Group, and then to PORTER, who replaced Executive 1 as the Vice President and General Manager of

27   Recology's San Francisco Group in or about January 2018.

28          7.      In furtherance of the conspiracy and with the knowledge and approval of his supervisors,


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 1   between in or about 2014 and continuing through in or about January 2020, Giusti helped direct a stream

 2   of benefits from Recology to Nuru or his designees, including financial contributions to organizations at

 3   Nuru's direction; services; gifts; and other things of value. The purpose ofthis stream of payments and

 4   benefits was to influence Nuru to act in Recology's favor as opportunities arose, and to have Nuru take

 5   official action and exercise official influence in Recology's favor in exchange for such payments and

 6   benefits.

 7          8.      Between 2018 and 2020,PORTER,in his role as Vice President and Group Manager of

 8   Recology's San Francisco Group, approved many of these payments. The payments and benefits that

 9   Recology paid or provided to Nuru, included, but were not limited to, the following:(1) approximately

10   $150,000 per year, in $30,000 installments, from in or around 2014 through approximately the end of

11   2019, to San Francisco Non-Profit A, with the knowledge that Nuru could ultimately control how this

12   money was used;(2)$60,000 in funding for the annual DPW holiday party in the period from 2016 to

13   2019, in the form of purported "holiday donations" to the Lefty O'Doul's Foundation for Kids;(3)a job

14   for Nuru's son at Recology; and (4)Recology-funded internships for Nuru's son, in the summer of 2017

15   and summer of 2018, at another San Francisco non-profit on whose board Giusti served. Recology also

16   regularly paid for Nuru's meals, including breakfast meetings between Nuru, other DPW employees,

17   and various Recology executives, including PORTER.

18          9.     PORTER learned of the existence of and agreed to join the conspiracy to bribe Nuru no

19   later than in or around May 2015. In or around February 2015, a question surrounding the amount and

20   source of funds donated to Non-Profit A was elevated to PORTER. PORTER was instructed to speak to

21   Giusti about Non-ProfIt A. In or about the spring of 2015, Recology began to prepare an application for

22   a rate increase, a process in which PORTER was heavily involved as Controller. On or about May 20,

23   2015, Non-Profit A's Executive Director notified Giusti by email that Non-Profit A did not receive the

24   expected donation from Recology for May. Giusti informed PORTER that Nuru was not happy about

25   this missed donation. PORTER responded that he and Giusti should meet to discuss politically-sensitive

26   payments that Recology made on a recurring basis to ensure that those payments were made regularly.

27   PORTER then prepared and signed a check request form for a $30,000 payment to Non-Profit A, which

28   he sought to be disbursed as soon as possible. At least one purpose of this payment was to influence


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 1   Nuru's actions in connection with Recology's planned rate increase application. Recology ultimately

 2   issued the check to Non-Profit A on May 20, 2015. PORTER then forwarded Giusti's email about his

 3   encounter with Nuru to the Assistant Corporate Controller of Recology's parent company, stating that

 4   Nuru approved Recology's rates and that "keeping [Nuru] happy is important."

 5           10.     In or about June 2018, Recology attempted, unsuccessfully, to raise the tipping fees that

 6   it charged the City of San Francisco for the dumping of certain materials at a Recology facility.

 7   Throughout the summer and fall of 2018,PORTER sought Nuru's assistance with Recology's efforts to

 8   implement the tipping fee increase. To facilitate that effort, PORTER and one of his direct reports, San

 9   Francisco Group General Manager A, enlisted the help of Giusti.

10           11.     In or about November 2018, Giusti agreed with Nuru, with the knowledge and approval

11   ofPORTER,that Recology would give $20,000 to Nuru for Nuru's use in funding DPW's annual

12   holiday party. At least one purpose of this payment was to influence Nuru's actions in connection with

13   the tipping fee increase sought by Recology. Giusti arranged, at Nuru's direction and with the written

14   approval ofPORTER,for Recology to issue a $20,000 check for a "holiday donation" to the Lefty

15   O'Doul's Foundation for Kids, a non-profit organization that purported to serve underprivileged

16   children. After Recology issued the check, Giusti mailed the check to Nuru at Nuru's direction and

17   Nuru gave the check to Nick Bovis, the head of the Lefty O'Doul's Foundation. Nick Bovis used the

18   money to pay for expenses associated with Nuru's DPW holiday party, and not for underprivileged

19   children.

20   COUNT ONE:             (18 U.S.C. § 371 - Conspiracy to Commit Bribery of a Local Official)

21          12.      Paragraphs 1 through 11 of this Indictment are re-alleged and incorporated as if fully set

22   forth herein.

23          13.      Beginning no later than in or about May 2015, and continuing through in or about

24   January 2020, in the Northern District of California and elsewhere, the defendant,

25                                           JOHN FRANCIS PORTER,

26   did knowingly conspire and agree with Paul Frederick Giusti and others, known and unknown to the

27   grand jury, to commit bribery of a local official, that is, corruptly giving, offering, and agreeing to give

28   things of value, namely, payments and benefits to Mohammed Nuru or his designees, with the intent to


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 1   influence Nuru to use his power and perform official acts to benefit Recology's business as

 2   opportunities arose, in violation of 18 U.S.C. § 666.

 3                                                 OVERT ACTS

 4          The defendant PORTER, Giusti, and others committed the following overt acts in furtherance of

 5   the conspiracy, among others:

 6                a. In or about June 2018, Recology requested an increase in the tipping fees that it charged

 7                   the City of San Francisco for the dumping of certain materials at a Recology facility.

 8                   Throughout the summer and fall of 2018,PORTER sought Nuru's assistance with

9                    Recology's efforts to implement a tipping fee increase. To facilitate that effort, PORTER

10                   and one of his direct reports, San Francisco Group General Manager A, enlisted the help

11                   of Giusti.

12                b. Giusti and PORTER caused Recology to issue a $20,000 check for a "holiday donation"

13                   to the Lefty O'Doul's Foundation for Kids, a non-profit organization that purported to

14                   serve underprivileged children.

15                c. After Recology issued the check, Giusti mailed the check to Nuru at Num's direction.

16          All in violation of Title 18, United States Code, Section 371.

17   COUNT TWO:             (18 U.S.C. §§ 666(a)(2) and 2- Bribery of a Local Official)

18          14.      Paragraphs 1 through 13 of this Indictment are re-alleged and incorporated as if fully set

19   forth herein.

20          15.      At all times material to this Indictment, the Department of Public Works of the City and

21   County of San Francisco was an agency of a local government that received federal assistance in excess

22   of $10,000 during the one-year period beginning on or about November 27,2017, and ending on or

23   about November 27, 2018.

24          16.      At all times material to this Indictment, Mohammed Nuru was an agent of the

25   Department of Public Works as its Director, whose duties as the highest-ranking appointed official at the

26   agency included reviewing Recology's applications for rate increases, accepting and rejecting

27   modifications to rate increase applications, and making a final recommendation to the Rate Board on

28   Recology's requested rate increases.


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 1           17.    On or about November 27, 2018, in the Northern District of California, the defendant,

 2                                          JOHN FRANCIS PORTER,

 3   did corruptly give, offer, and agree to give a thing of value to any person intending to influence and

 4   reward an agent of the Department of Public Works of the City and County of San Francisco, namely,

 5   Mohammed Nuru, in connection with a transaction and series of transactions of the Department of

6    Public Works involving $5,000 or more, and did aid and abet the same offense. Specifically, on or

 7   about November 27, 2018,PORTER approved a payment of $20,000 to the Lefty O'Doul's Foundation

 8   for Kids that was intended to fund the Department ofPublic Works' annual holiday party as an illegal

 9   gift; to Mohammed Nuru in order to induce his official actions on Recology's behalf.

10          All in violation of Title 18, United States Code, Sections 666(a)(2) and 2.

11   FORFEITURE ALLEGATIONS:               (18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c))

12           18.    The allegations contained in this Indictment are re-alleged and incorporated by reference

13   for the purpose of alleging forfeiture pursuant to Title 18, United States Code, Section 981(a)(1)(C) and

14   Title 28, United States Code, Section 2461(c).

15           19.    Upon conviction for any of the offenses set forth in this Indictment, the defendant,

16                                          JOHN FRANCIS PORTER,

17   shall forfeit to the United States, pursuant to Title 18, United States Code, Section 981(a)(1)(C) and

18   Title 28, United States Code, Section 2461(c), all property, real or personal, constituting, or derived

19   from proceeds the defendant obtained directly and indirectly, as the result of those violations, including

20   but not limited to a forfeiture money judgment.

21          20.     If any ofthe property described above, as a result of any act or omission of the defendant:

22                          a.      cannot be located upon exercise of due diligence;

23                          b.      has been transferred or sold to, or deposited with, a third party;

24                          c.      has been placed beyond the jurisdiction of the court;

25                          d.      has been substantially diminished in value; or

26                          e.      has been commingled with other property which cannot be divided

27                                  without difficulty,

28   the United States of America shall be entitled to forfeiture of substitute property pursuant to Title 21,


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 1   United States Code, Section 853(p), as incorporated by Title 18, United States Code, Section 982(b)(1)

 2   and Title 28, United States Code, Section 2461(c).

 3          All pursuant to Title 18, United States Code, Sections 981(a)(1)(C) and (b)(1); Title 28, United

 4   States Code, Section 2461(c); and Federal Rule of Criminal Procedure 32.2.

 5

 6   DATED: ^                                                   A TRUE BILL.

 7

 8
                                                                FOREPERSON
 9

10   STEPHANIE M.HINDS
     United States Attorney
11

12           ISIAlexandra Shepard
13   ALEXANDRA SHEPARD
     KATHERINE M. LLOYD-LOVETT
14   Assistant United States Attorneys

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     INDICTMENT
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                      UNITED STATES DISTRICT COURT
                                                                                      FILED
                                                                                      B    ■   mam     Rbh   XmitF



                      NORTHERN DISTRICT OE CALIFORNIA                                     JUL212[l22-f
                                                                                    CLERK, U.S. DISTRICT COURT
                                                                                  NORTHERN DISTRICT OF CALIFORNIA
                             CRIMINAL COVER SHEET

Instructions: Effective November 1, 2016, this Criminal Cover Sheet must be completed and submitted,
along with the Defendant Information Form,for each new criminal case.

  Case Name:
  USA V. JOHN FRANCIS PORTER                                Case Numb
                                                                           DR 22 0270
  This Case Under Seal?                         Yes       No /

  Total Number of Defendants:                      1 ■/   2-7         8 or more

 Does this case involve ONLY charges            Yes       No    /
 under 8 U.S.C.§ 1325 and/or 1326?

  Venue (Per Crim. L.R. 18-1):                   SF /     OAK         SJ



 Is this a potential high-cost case?            Yes       No /

 Is any defendant charged with
                                                Yes       No /
 a death-penalty-eligible crime?

 Is this a RICO Act gang case?                  Yes       No ^

 Assigned AUSA
                                                          Date Submitted: Ql12112022
(Lead Attorney): Alexandra Shcpard
 Comments:




                                                                RESET FORM             SAVE PDF
Form CAND-CRIM-COVER (Rev. 11/16)
